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CO-929
Rev. 02/ 10

UNITED S'I`ATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

Samuel Enning

 

Plaintif`f

v_ civil Acrion No. 14 '518 (JDB)

Trarls Uriion LLC

 

Defendant

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The above entitled action, removed from the S:ferior__t 1 for the District of Columbia,
has been filed and assigned to Judge’-‘*’

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:.§wT h 34
. All counsel and/or pro se

 

litigants must include on any subsequent pleadings both the civil action number and the initials
ofthe judge assigned to this action. (See preceding sentence for thejudge‘s initials.)

Pursuant to Local Rule 83.2(8)(`0), an attorney must be a member in good standing of the
bar of this Court to appear, file papers or practice To assist the C|erk’s Of`fice in properly
recording all counsel of record, counsel for all parties must enter their appearance in accordance
with Local Rule 83.6(a). Timely compliance with this requirement will enable the C|erk’s Of`f`lce
to ensure prompt delivery of notices and orders.

Finally, your attention is called to Local Rule 16.3, Duty to Confer. This rule clearly

spells out the duty ofcounsel, as well as pro se litigants, to confer and report back to the Court on

E A'D. CAESAR firm /
By A\ "\.i LL"L cgl (:~»'; \ L/’/Vi\_'
Deptiiy Clerk l

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CC: Samuel Ermlng / ~

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a wide range quuestions.

